108 F.3d 1372
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Mason JONES, Plaintiff-Appellant,v.Ronald ANGELONE, Director, Department of Cor rections;David L. Graham, Assistant Warden;  Samuel L. Batts,Assistant Warden;  Captain Bruce;  John B. Metzger, III,Chairman, Vir ginia Parole Board;  Fred W. Greene, Warden;Sergeant Winckler;  C. Taylor, Treatment Supervisor;  NurseHarris;  Department of Corrections, Defendants-Appellees.
    No. 96-7441.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 19, 1997.
    
      Charles Mason Jones, Appellant Pro Se.
      Wirt Peebles Marks, IV, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Jones v. Angelone, No. CA-95-195 (E.D.Va. Aug. 21, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    